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FILED

UNITED STATES DISTRICT COURT FEB 0 3 2023

FOR THE DISTRICT OF COLUMBIA ‘ bi
Clerk. US. Distnet & Bankruptcy

 

 

_— ) Courts fer the Distinct of Columbia
UNITED STATES OF AMERICA )
)
v. )

) Criminal Action No. 22-239 (RBW)
PAUL KOVACIK, )
)
Defendant. )
)
ORDER

In accordance with the oral rulings issued by the Court at the hearing held on February 3,
2023, it is hereby

ORDERED that the plea hearing scheduled for February 3, 2023, is CONTINUED to
March 13, 2023, at 11:30 a.m. via videoconference.

SO ORDERED this 3rd day of February, 2023.

     

   

LG ‘
REGGIE B. WALTON
United States District Judge
